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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                      Case No. 11-20551-53, 47

 NATHAN REED AND AYESHA McCRAY,

        Defendant.
                                                /

 OPINION AND ORDER DENYING DEFENDANTS’ MOTION FOR DISCOVERY

        Before the court is Defendant Nathan Reed’s motion for “Supplemental

 Discovery and Early Disclosure of Brady/Giglio Material.” Defendant Ayesha McCray

 joined Reed’s motion. Having reviewed Defendants’ motion, the court concludes a

 hearing is unnecessary. See E.D. Mich. LR 7.1(f)(2). For the reasons stated below, the

 court will deny Defendants’ motion.

        “There is no general constitutional right to discovery in a criminal case.”

 Weatherford v. Bursey, 429 U.S. 545, 559 (1977). Rather, “in most criminal

 prosecutions, the Brady rule, Rule 16 and the Jencks Act, exhaust the universe of

 discovery to which the defendant is entitled.” United States v. Presser, 844 F.2d 1275,

 1285 n.12 (6th Cir. 1988). The Government has represented that it has, to date,

 complied with all of its discovery obligations, and it will continue to do so. (Dkt. # 728,

 Pg. ID 2868.) In fact, from the court’s understanding of the Government’s production, it

 has gone beyond any statutory or constitutional obligations. For instance, the
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 Government has offered to allow Defendants’ respective attorneys to read redacted

 versions of the Jencks materials.

        In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court held that “the

 suppression by the prosecution of evidence favorable to an accused upon request

 violates due process where the evidence is material either to guilt or to punishment,

 irrespective of the good faith or bad faith of the prosecution.” 373 U.S. at 87; see also

 United States v. Bagley, 473 U.S. 667 (1985); Giglio v. United States, 405 U.S. 150

 (1972). However, “while the Brady rule imposes a general obligation upon the

 government to disclose evidence that is favorable to the accused and material to guilt or

 punishment, the government typically is the sole judge of what evidence in its

 possession is subject to disclosure.” Presser, 844 F.2d at 1281 (emphasis added). The

 Supreme Court has stated that the “defendant’s right to discover exculpatory evidence

 does not include the unsupervised authority to search through the [Government’s] files.”

 Pennsylvania v. Ritchie, 480 U.S. 39, 59-60 (1987) (citations omitted). Indeed, the

 “Court has never held—even in the absence of a statute restricting disclosure—that a

 defendant alone may make the determination as to the materiality of the information.

 Settled practice is to the contrary.” Id. Thus, when a defendant makes a request for

 Brady material, it is the Government “that decides which information must be disclosed.

 Unless defense counsel becomes aware that other exculpatory evidence was withheld

 and brings it to the court’s attention, the prosecutor’s decision on disclosure is final.” Id.

 (emphasis added) (footnote omitted). Consistent with this authority, the court will not

 issue an order compelling pre-trial discovery where, as here, the government has stated

 that it is aware of its obligations under Brady. As the Sixth Circuit stated in Presser, “the

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 government has represented that it will comply with all of its Brady obligations in time for

 effective use of the Brady material at trial. The Brady doctrine did not create a

 constitutional right of pre-trial discovery in a criminal proceeding.” Presser, 844 F.2d at

 1284 (citing Weatherford v. Bursey, 429 U.S. at 559).

        To the extent Defendant Reed seeks any prior statements of prospective

 Government witnesses, whether from grand jury testimony or elsewhere, the Jencks Act

 expressly precludes such discovery at this stage of the proceedings. See 18 U.S.C. §

 3500 (“In any criminal prosecution brought by the United States, no statement or report

 in the possession of the United States which was made by a Government witness or

 prospective Government witness (other than the defendant) shall be the subject of

 subpoena, discovery, or inspection until said witness has testified on direct examination

 in the trial of the case.”). Defendant Reed cannot utilize Brady to attain what is

 prohibited by the Jencks Act. Presser, 844 F.2d at 1283. The Government will be

 required, of course, to turn over any statements after their witnesses testify but, until

 such time, the Government is not mandated by the Constitution or the Jencks Act to

 produce the statements. In fact, in its response, the Government states that it “will give

 Defendant the requisite un-redacted Jencks materials and/or other plea and cooperation

 agreements, and impeachment materials two weeks before trial.” (Dkt. # 728, Pg. ID

 2868.) The Sixth Circuit has held that “so long as the defendant is given impeachment

 material, even exculpatory impeachment material, in time for use at trial, we fail to see

 how the Constitution is violated.”1 Id. Accordingly,


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         Similarly, Defendant Reed “[is] not entitled to know, in advance of trial, who [is]
 going to testify for the government.” United States v. Dark, 597 F.2d 1097, 1099 (6th

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           IT IS ORDERED that Defendants’ motion for discovery (Dkt. ## 671, 674) is

 DENIED.


                                                              s/Robert H. Cleland
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE
 Dated: May 29, 2014

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, May 29, 2014, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner
                                                             Case Manager and Deputy Clerk
                                                             (313) 234-5522




 Cir. 1979).
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